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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                      Plaintiffs,                                     8:14CR156

       vs.
                                                                       ORDER
ROCKY VERDUGO,

                      Defendants.


       This matter is before the Court on the Court’s own motion. The Court previously granted

defendant’s request for an additional 60 days to self-surrender. However, Pretrial Services has

now informed the Court that defendant is currently using marijuana, is not working and is not

otherwise in compliance with his release terms.        The Court has reviewed the same and

determines that defendant should report to FPC Sheridan, Sheridan, OR on or before August

11, 2015 by no later than 2:00 p.m.

       THEREFORE, IT IS ORDERED THAT:

       1.    Defendant shall report to FPC Sheridan, Sheridan, OR on or before August 11,

2015, by no later than 2:00 p.m.

       2. Pretrial Services is ordered to notify the defendant of the new self surrender date.

       3. The Clerk of Court shall send a copy of this order to United States Marshal, and the

United States Marshal shall provide a copy of this Order to the Bureau of Prisons.

       Dated this 29th day of July, 2015

                                                    BY THE COURT:

                                                    s/ Joseph F. Bataillon
                                                    Senior United States District Judge
